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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

UNITED STATES OF AMERICA No.                 3:18-CR-00409-1
 v.

DWAINE CARAWAY




                                       ORDER

      Having considered the parties’ Joint Motion to Continue Sentencing, the Court is

of the view that the motion should be and hereby is DENIED. The Court will assume Mr.

Caraway’s cooperation in United States v. Hamilton, 3:19-CR-083-S, as described in the

motion. If the Government believes a reduction is appropriate under Rule 35 after Mr.

Caraway’s testimony, it may file such a motion.

      SO ORDERED.

      April 4, 2019.


 
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                                 BARBARA M. G. LYNN
                                 CHIEF JUDGE
